                                                                                  Case 3:04-cr-00360-SI Document 51 Filed 08/23/05 Page 1 of 4
                                                                                                     IN THE UNITED STATES DISTRICT COURT
                                                                                                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          1

                                                                          2   USA,                                                         No. CR04-00360        SI
                                                                          3                   Plaintiff,                                   ORDER FOR PRETRIAL PREPARATION
                                                                          4     v.
                                                                          5   THOMAS SCHOENSTEIN and WAYNE L.
                                                                          6   STANDART
                                                                                              Defendant.
                                                                          7                                                    /
                                                                          8
                                                                                      Good cause appearing, IT IS HEREBY ORDERED that:
United States District Court




                                                                          9
                                                                              TRIAL DATE: On January 9, 2006 at 8:30 a.m. Courtroom 10, 19th floor, and will be before the JURY.
                               For the Northern District of California




                                                                         10
                                                                              TRIAL LENGTH is estimated to be 5-6 days.
                                                                         11
                                                                              MOTIONS IN LIMINE :
                                                                         12           Any party wishing to have motions in limine heard prior to the commencement of trial must file and
                                                                              serve same no later than five court days prior to the date set for the Pretrial Conference. Any party
                                                                         13   opposing such a motion in limine shall file and serve its opposition papers no later than two court days prior
                                                                              to the Pretrial Conference(with personal service directly on chambers). No reply papers will be considered,
                                                                         14   and the motions will be heard at the Pretrial Conference or at such other time as the Court may direct.
                                                                         15   PRETRIAL CONFERENCE: A Pretrial Conference SHALL be held at 3:30 p.m. on January 3, 2006
                                                                              in Courtroom 10. Not less than three days before the Pretrial Conference, counsel for the government
                                                                         16   SHALL:
                                                                         17           (1)     Serve and file a trial memorandum briefly stating the legal bases for the charges and the
                                                                              anticipated evidence, and addressing any evidentiary, procedural or other anticipated legal issues;
                                                                         18
                                                                                      (2)     Serve and file a list of all witnesses who may be called, together with a brief summary of the
                                                                         19   testimony of each;
                                                                         20           (3)     Serve and file proposed jury instructions on all substantive issues and on any procedural issue
                                                                              not adequately covered by the Court's standard instructions (which are published in the Ninth Circuit Manual
                                                                         21   of Model Jury Instructions). Counsel for the government shall deliver to the Courtroom Deputy a copy of its
                                                                              proposed jury instructions on a 3-1/2" floppy disk in the WordPerfect 9 format;
                                                                         22
                                                                                      (4)     Serve and lodge a proposed form of verdict and proposed questions for jury voir dire; and,
                                                                         23
                                                                                       (5)    Serve and file exhibit lists; and serve copies of all marked exhibits on all parties. Each item
                                                                         24   SHALL be premarked; generally, the government SHALL use numbers, the defendant, letters. The actual
                                                                              exhibits SHOULD NOT be filed with the Court, only the exhibit lists must be filed with the Court. The Court's
                                                                         25   copy of the actual exhibits should be handed up in Court on the day of the trial.
                                                                         26

                                                                         27          Not less than three days before the Pretrial Conference, defense counsel SHALL comply with
                                                                              subparagraphs (3) and (4) above, and, to the extent consistent with the defendant's right to an effective defense,
                                                                         28   with subparagraphs (1), (2) and (5) above.
                                                                                  Case 3:04-cr-00360-SI           Document 51          Filed 08/23/05        Page 2 of 4


                                                                                      Counsel SHALL confer in advance and be prepared to discuss with the Court any anticipated
                                                                              evidentiary objections and any means for shortening and simplifying the trial (e.g., by stipulating to such matters
                                                                          1   as chain of custody, nature of substances, use of the mails, etc.).
                                                                          2   Counsel should submit an agreed upon set of additional requested voir dire questions to be posed by the Court.
                                                                              Any voir dire questions on which counsel cannot agree shall be submitted separately. Voir dire by counsel will
                                                                          3   not be permitted absent leave of Court.
                                                                          4
                                                                              MOTIONS: All motions SHALL be heard on December 2, 2005, at 11:00 a.m. in Courtroom 10, and
                                                                          5   SHALL comply with Crim. L.R. 47-2. Before filing any motion, counsel for defendant and for the government
                                                                              SHALL confer concerning any matter covered by Crim. L.R. 17.1-1, relevant to the case, in particular,
                                                                          6   subparagraphs (a), (b) and ©). (File motions: 11/18/05, file oppositions: 11/28/05, file replies: 11/30/05)
                                                                          7           The party filing any motion or other paper in this case shall show on the first page beneath the file
                                                                              number which, if any, of the exclusions under 18 U.S.C. § 3161 may be applicable to the action sought or
                                                                          8   opposed by the motion or other paper, and his or her calculation of the amount of excludable time to the
                                                                              hearing date.
United States District Court




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                               For the Northern District of California




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                                                                         11   Crim. L.R. 47-2 (c)
                                                                         12
                                                                                      The following preliminary model instructions will be given before opening statement: 1.01 -
                                                                         13   1.11.
                                                                         14          The following model instructions will be given at the close of the evidence and before argument: 3.01 -
                                                                              3.07 and 3.08 - 3.12 (as applicable).
                                                                         15
                                                                                      The following model instructions will be given at the close of argument and immediately before
                                                                         16   deliberation: 7.01 - 7.05.
                                                                         17   COPIES: Each document filed or lodged with the Court must be accompanied by a three-hole punched
                                                                              copy for use in the Judge's chambers. In addition, one copy of the witness and exhibit lists should be furnished
                                                                         18   to the court reporter.
                                                                         19   TRANSCRIPTS: If transcripts will be requested during or immediately after trial, arrangements must be made
                                                                              with the court reporter at least one week before trial commences.
                                                                         20
                                                                              CHANGE OF PLEA: Counsel SHALL comply with Local Rule 315-1 by giving prompt notice to the United
                                                                         21   States Attorney and to the Court of any intention to change a previously entered not guilty plea.
                                                                         22   EXHIBITS: Each party is responsible for their exhibits. Upon the conclusion of the trial, each party SHALL
                                                                              retain their exhibits. Should an appeal be taken, it is each parties responsibility to make arrangements with the
                                                                         23   Clerk of the Court to file the record on appeal.
                                                                         24
                                                                              Dated: 8/22/05
                                                                         25
                                                                                                                                                     SUSAN ILLSTON
                                                                         26                                                                          United States District Judge
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